
Affirmed by unpublished PER CURIAM opinion.
Unpublished opinions are not binding precedent in this circuit.
PER CURIAM:
James E. Slate appeals the district court’s order granting the Defendant’s motion for summary judgment in Slate’s civil actions. We have reviewed the record and find no reversible error. Accordingly, we affirm for the reasons stated by the district court. See Slate v. Potter, Nos. 1:04-cv-00782-JAB; 1:05-cv-00221-JAB-PTS (M.D.N.C. Sept. 80, 2009). We dispense with oral argument because the facts and legal contentions are adequately presented in the materials before the court and argument would not aid the decisional process.

AFFIRMED.

